      Case: 1:21-cv-01148 Document #: 105 Filed: 12/19/23 Page 1 of 2 PageID #:360




                      IN THE FEDERAL DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION



 REYNA ARROYO,

 Plaintiff,                                           Case No.: 21-cv-01148

 v.
                                                      Hon. Judge Steven C. Seeger
 CITY OF CHICAGO POLICE                               Hon. Magistrate Judge Jeannice Appenteng
 DEPARTMENT,

 Defendant.


                                    JOINT STATUS REPORT

         Plaintiff Reyna Arroyo, by her attorneys, Christina Abraham and Janaan Hashim, and

Defendant City of Chicago, by its attorney, Corporation Counsel for the City of Chicago, submit

the following Joint Status Report pursuant to the Magistrate Judge’s Order dated November 22,

2023 (Dkt. 104), directing the parties to submit a joint status report confirming the completion of

discovery:

Defendant’s Report:

      1. The deposition of Jonathan Johnson was completed on November 30, 2023.

      2. Plaintiff’s Motion (Dkt. 101) is pending before the District Judge.

      3. Fact discovery is complete.

Plaintiff’s Report:

      1. The deposition of Jonathan Johnson was completed on November 30, 2023.

      2. Plaintiff’ Opposed Motion to Extend Discovery to Depose Jonathon Johnson and To

         Extend Dispositive Motion Schedule (Dkt. 101) remains pending before the District

         Judge.



                                                  1
   Case: 1:21-cv-01148 Document #: 105 Filed: 12/19/23 Page 2 of 2 PageID #:361




   3. Fact discovery is complete as to obtaining outstanding depositions. Discovery ended on

       May 26, 2023, and while this Court allowed for discovery of outstanding depositions to

       be taken after this date, the parties kept the Court informed about two outstanding

       declarations that related to Defendant’s responses to Plaintiff’s Second Set of Requests

       for Production, which were discussed prior to the close of discovery. Defendant

       produced one of the declarations on October 23. The other declaration is in dispute as to

       its production. Plaintiff intends on filing her Motion To Compel regarding this remaining

       declaration pending the Court’s ruling on her current motion.



Dated: December 19, 2023

Respectfully submitted,

 REYNA ARROYO                                       OFFICE OF THE CORPORATION
 Plaintiff                                          COUNSEL

 /s/ Christina Abraham                              /s/ Matthew E. Suhl
                                                    Matthew E. Suhl
                                                    Assistant Corporation Counsel

 Christina Abraham, Esq.                            Phillip Santell
 Abraham Law and Consulting, LLC                    Assistant Corporation Counsel
 161 N. Clark Street, Suite 1600
 Chicago, IL 60601                                  City of Chicago
 (312) 588-7150                                     Department of Law
 Christina.w.abraham@gmail.com                      Employment Litigation Division
                                                    2 N. LaSalle St., Suite 640
 Janaan Hashim                                      Chicago, Illinois 60602
 Janaan Hashim, Esq.                                312.742.1935 / 312.744.9188
 Amal Law Group, LLC                                Matthew.suhl@cityofchicago.org
 161 N. Clark Street, Suite 1600                    phillip.santell@cityofchicago.org
 Chicago, IL 60601
 312-882-4122                                       Counsel for Defendant
 jhashim@amallaw.com

 Counsel for Plaintiff




                                                2
